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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                  §
 IN RE:                                           §            CASE NO. 20-32746-H3
                                                  §
 C-CO HOLDINGS, LLC,                              §            CHAPTER 11 (Sub V)
                                                  §
                   DEBTOR.                        §
                                                  §

                   NOTICE OF FILING SUBCHAPTER V TRUSTEE,
             MELISSA A. HASELDEN, FIRST AND FINAL FEE APPLICATION

        YOU ARE HEREBY NOTIFIED that on November 13, 2020, Melissa A. Haselden,
Subchapter V Trustee, filed her First and Final Fee Application for Allowance of Compensation
[Doc. No. 56] (the “Application”) for services it provided to the Debtor. The Application has
been filed pursuant to 11 U.S.C. § 330, and covers professional services rendered to the Debtor
and reimbursement of expenses for the period May 27, 2020 to November 10, 2020.

       The Trustee requests that the Court approve on a final basis $2,960.00 in fees, $12.62 in
expenses, and $400.00 for the preparation, service and prosecution of the Application for a total
amount of $3,372.62.

       A copy of the Application has been filed with the Clerk of the United States Bankruptcy
Court for the Southern District of Texas, Houston Division, at 515 Rusk Avenue, Rm 400,
Houston, Texas 77002, and may be examined during its normal business hours.

DATED:            November 13, 2020                   Respectfully submitted,

                                                      HOOVERSLOVACEK LLP

                                                      By: /s/ Melissa A. Haselden
                                                      Melissa A. Haselden
                                                      State Bar No. 00794778
                                                      5051 Westheimer, Suite 1200
                                                      Houston, Texas 77056
                                                      Telephone: (713) 977-8686
                                                      Facsimile: (713) 977-5395
                                                      haselden@hooverslovacek.com




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 13, 2020, a copy of the foregoing Notice of Filing First
and Final Fee Application of Melissa A. Haselden, Subchapter V Trustee, for Allowance of
Compensation for Services Rendered and for Reimbursement of Expenses as Counsel to the Debtor
for the Period from May 27, 2020 and November 10, 2020 has been served via through the ECF
system to the parties listed below:

20-32746 Notice will be electronically mailed to:

Alicia Lenae Barcomb on behalf of U.S. Trustee US Trustee
alicia.mccullar@usdoj.gov

James Scott Douglass on behalf of Interested Party James Scott Douglass
jsd@aol.com

Melissa A Haselden
Haselden@hooverslovacek.com,
doucet@hooverslovacek.com;haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.co
m

Teri H Kelley on behalf of Creditor Deere & Company
tk@thkelleylaw.com

Chandra Dianne Pryor on behalf of Creditor Kubota Credit Corporation
Chandra.Pryor@BonialPC.com

Brendon D Singh on behalf of Debtor C-CO Holdings, LLC
Brendon.singh@ctsattorneys.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

Susan Tran Adams on behalf of Debtor C-CO Holdings, LLC
susan.tran@ctsattorneys.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV


                                                    /s/ Melissa A. Haselden
                                                    Melissa A. Haselden




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